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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                         CASE NO. 4:11-CR-00223-BSM-2

TIMOTHY VERNARD WILLIAMS
Reg #26501-009                                                               DEFENDANT

                                          ORDER

       Timothy Williams’s motion for compassionate release and motion to appoint counsel

[Doc. No. 155] is denied because his health concerns do not warrant release and because he

is a danger to society. See, e.g., United States v. Ram, 2020 WL 3100837, at *2–3 (E.D. Ark.

June 11, 2020). Further, there is no right to counsel in section 3582 proceedings. United

States v. Knight, 2020 WL 4193996, at *1 (D.N.D. July 21, 2020) (citing United States v.

Brown, 565 F.3d 1093, 1094 (8th Cir. 2009)). Williams’s Eighth Amendment claims

regarding prison conditions are denied because he has failed to exhaust his administrative

remedies. 42 U.S.C. section 1997(e)(a).

       Williams pled guilty to conspiracy to carry or use a firearm during a drug trafficking

crime and was sentenced to 210 months imprisonment. Doc. No. 124. He moves for

compassionate early release, pursuant to 18 U.S.C. section 3582(c)(1)(A), which requires

consideration of the sentencing factors enumerated by 18 U.S.C. section 3553.

       Williams tested positive for COVID-19 in August, 2020, and has since been declared

recovered. Mot. Compassionate Release at 3, Doc. No. 155. He argues that he should be

released because his obesity and hypertension put him at a safety risk if he contracts COVID-
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19. Id. He also states that he suffers from anxiety and depression from fear of contracting

COVID-19 and being in COVID-19 isolation. Id. Williams argues that the number of

positive tests at Forrest City Medium facility is rapidly increasing and that social distancing

and face mask guidelines are not being enforced. Id. at 5. He further attests that he will

reside with his brother if he is released, and argues that he is not a danger to society. Id. at

20.

       The government argues that compassionate release is not warranted because concerns

of potential exposure to the virus do not rise to the level of extraordinary and compelling.

Resp. Mot. Release at 4, Doc. No. 156. The government also argues that the facility where

Williams is incarcerated has four inmates who are positive for COVID-19, as of October 30,

2020, and BOP has taken the precautions set out in its action plan. Id. at 6–9. Moreover,

based on Williams’s violent criminal history and drug offense, the government contends that

Williams poses a danger to the community. Id. at 10–12.

       IT IS SO ORDERED, this 5th day of November, 2020.


                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE
